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                                               July 24, 2023

BY ECF FILING
Lyle W. Cayce
Clerk of Court
U.S. Court of Appeals
for the Fifth Circuit
600 S. Maestri Place, Suite 115
New Orleans, LA 70130

        Re:      Case 23-10534: Highland Capital Management Fund Advisors, LP., et. al. v. Highland
                 Capital Management, L.P.; Appellants’ Unopposed Request for 21 Day Briefing
                 Extension

Dear Mr. Cayce:

       I am lead counsel of record for the two appellants in this case: NexPoint Advisors, L.P. and
Highland Capital Management Fund Advisors, L.P. (“Appellants”), and I am writing to request a
consensual extension of the Appellants’ principal brief deadline to August 15, 2023, representing an
extension of twenty-one (21) days.

       I have conferred with John Morris, Esq., counsel for the sole appellee, and Mr. Morris informed
me that the appellee does not oppose this request.

         The reason for my request is that I have been exceptionally busy the past six (6) weeks trying a
contested Chapter 11 plan, as lead counsel, in the United States Bankruptcy Court for the Eastern
District of Texas, with multiple evidentiary hearings and related obligations. I have sought assistance
form others in my Firm to help with the briefing in this case but, due to the very large Tuesday Morning
bankruptcy case they have been handling, and other cases we have been handling, I have not been
able to obtain any assistance.

        This request is not made for purposes of delay or advantage, but solely that justice may be done.

      Therefore, the Appellants respectfully request that the deadline for them to file their principal brief
be August 15, 2023.

                                                      Sincerely,

                                                      /s/ Davor Rukavina
                                                      Davor Rukavina, Esq.

Cc: John A. Morris, Esq. (by CMECF)




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